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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

BLAIR IMANI, ET AL                                                    CIVIL ACTION

VERSUS                                                                NO.: 3:17-CV-439-JWD-EWD

CITY OF BATON ROUGE, ET AL

                               MEMORANDUM IN SUPPORT OF
                              MOTION FOR PROTECTIVE ORDER


        MAY IT PLEASE THE COURT:

                                              Factual Basis

        Plaintiffs herein allege a variety of state and federal constitutional torts, state law torts,

vicarious liability, and claims for indemnity, in their Revised Second Amended Complaint (ECF

Doc. 189-1), based on participation in protests in downtown Baton Rouge, on or about July 10,

2016. The Fourth Request for Production of Documents, No. 71, propounded on March 8, 2021,

attached hereto and made a part hereof as Exhibit A, requests a document identified in a newspaper

article, described as:

                A copy of the memorandum written by Cpt. Jeremiah Ardoin referenced in

                “Alleged corruption in BRPD narcotics unit includes stolen drugs, illegal

                searches, planted evidence” by Lea Skene (March 5, 2021).

        Attached hereto as Exhibit B is the arrest warrant issued for Jason Acree, March 1, 2021.

The warrant has been executed, as can be seen from the bail bond posted by Jason Acree, attached

hereto as Exhibit C. A review of the newspaper article referenced by plaintiffs shows that the

memorandum alleges a variety of claims against various officers, and that it was authored in

December, 2020.




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        Undersigned counsel advises the Court that the memorandum is related to ongoing criminal

investigations, one or more internal affairs investigations, and imminent criminal litigation, as

shown by Exhibits B and C. As such, plaintiffs’ request for disclosure of this document jeopardizes

the potential prosecution of Acree, BRPD’s efforts to investigate allegations of criminal activity,

and BRPD’s ability to investigate allegations of officer misconduct.

                                            Law & Argument

        The general scope of civil discovery is found in Federal Rule of Civil Procedure, Rule

26(b)(1), which provides:

                Unless otherwise limited by court order, the scope of discovery is as follows:
                Parties may obtain discovery regarding any nonprivileged matter that is relevant to
                any party’s claim or defense and proportional to the needs of the case, considering
                the importance of the issues at stake in the action, the amount in controversy, the
                parties’ relative access to relevant information, the parties’ resources, the
                importance of the discovery in resolving the issues, and whether the burden or
                expense of the proposed discovery outweighs its likely benefit. Information within
                this scope of discovery need not be admissible in evidence to be discoverable.

Protective orders, to restrict or limit discovery, a found in Federal Rule of Civil Procedure, Rule

26(c)(1), which provides in pertinent part:

                A party or any person from whom discovery is sought may move for a protective
                order in the court where the action is pending—or as an alternative on matters
                relating to a deposition, in the court for the district where the deposition will be
                taken. The motion must include a certification that the movant has in good faith
                conferred or attempted to confer with other affected parties in an effort to resolve
                the dispute without court action. The court may, for good cause, issue an order to
                protect a party or person from annoyance, embarrassment, oppression, or undue
                burden or expense, including one or more of the following:
                (A) forbidding the disclosure or discovery;
                (D) forbidding inquiry into certain matters, or limiting the scope of disclosure or
                discovery to certain matters;

        Although privilege, expressed as a resistance to discovery, is generally disfavored, it is

well established that law enforcement has a limited, qualified privilege to resist disclosures relating

to ongoing investigations and ongoing criminal litigation. As set forth by the Fifth Circuit in In Re



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US Department of Homeland Security, the accumulated case law protects specific categories of

information, such as open criminal investigations, identities of confidential informants, and

national security, 1 and investigative techniques. 2 Once the privilege is asserted, the trier of fact

should make a determination of the applicability of the law enforcement privilege, including by in

camera review of documents that the moving party seeks to withhold, and by application of the

Frankenhauser factors, decide if the materials should be provided, or not, or what other protective

measures would adequately safeguard the information. That balancing test uses ten factors:

                  (1) the extent to which disclosure will thwart governmental processes by
                  discouraging citizens from giving the government information;
                  (2) the impact upon persons who have given information of having their identities
                  disclosed;
                  (3) the degree to which governmental self-evaluation and consequent program
                  improvement will be chilled by disclosure;
                  (4) whether the information sought is factual data or evaluative summary;
                  (5) whether the party seeking discovery is an actual or potential defendant in any
                  criminal proceeding either pending or reasonably likely to follow from the incident
                  in question;
                  (6) whether the police investigation has been completed;
                  (7) whether any interdepartmental disciplinary proceedings have arisen or may
                  arise from the investigation;
                  (8) whether the plaintiff’s suit is non-frivolous and brought in good faith;
                  (9) whether the information sought is available through other discovery or from
                  other sources;
                  (10) the importance of the information sought to the plaintiff’s case.
                  (In Re US Dept. of Homeland Sec., supra, at 570, citing Tuite v. Henry, 98 F.3d
                  1411, 1417 (D.C.Cir.1996))

The Frankhauser test is flexible in its determination, and the privilege is further bound by

relevance and time constraints. That is, the privilege applies for a reasonable period of time, which




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  459 F.3d 565 (US 5th Cir., 8/2/2006) at 569-570, citing Brown v. Thompson, 430 F.2d 1214 (5th Cir.1970),
Swanner v. United States, 406 F.2d 716 (5th Cir.1969), Coughlin v. Lee, 946 F.2d 1152, 1159 (5th Cir.1991), and
the case law of other circuits, at Footnote 1.
2
  Id, at Footnote 2, citing Black v. Sheraton, 564 F.2d 531, 545-46 (D.C.Cir.1977) (recognizing, in the context of
discussing executive privilege, that law enforcement documents disclosing “investigative techniques or sources”
should be minimized.)


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defendants suggest is at least the pendency of the investigations related to the document or

documents sought.

        As applied to the requested discovery, defendants respectfully suggest that evaluation of

the factors indicates nondisclosure:

                (1) This memorandum regards the activities of a specialized narcotics unit. It is the
                basis of current and active investigations, which will potentially be thwarted by
                disclosure of the information.
                (2) This memorandum includes or purports to include information regarding
                criminal activity and police misconduct by a variety of individuals, which may or
                may not be true or accurate. Identifying those individuals before the claims are
                thoroughly investigated may defame the innocent, or give the guilty an opportunity
                to evade responsibility for their actions. In either of those cases, publication or
                disclosure of the information may have a negative impact upon persons who have
                given information by having their identities disclosed.
                (3) This memorandum relates to Internal Affairs investigations by BRPD, which
                has to investigate and evaluate the allegations about its own officers. The
                allegations are being investigated by BRPD, and for possible criminal charges or
                policy violations, but early disclosure of the information could jeopardize those
                investigations. Further, those allegations may not be true, or may misidentify
                perpetrators. Early disclosure, without thorough investigation, would needlessly
                tarnish the innocent, and give the guilty an opportunity to hide evidence or
                otherwise evade responsibility.
                (4) The information appears to be factual, but may be rumors, or malicious
                misinformation. It does not appear to be an executive summary.
                (5) This factor tends to favor the plaintiffs, who do not appear to have any
                association with recent narcotics cases.
                (6) The police investigation has not been completed, it has only recently begun, and
                has multiple areas of interest.
                (7) Interdepartmental disciplinary proceedings have arisen from the investigation,
                and they are not yet complete.
                (8) Defendants disagree with the merits and basis of plaintiff’s suit, but cannot
                reasonably categorize it as frivolous.
                (9) The information has not been released by the Baton Rouge Police Department,
                because of the ongoing investigations. No release of the information has or will be
                authorized until all investigations are complete.
                (10) The allegations of wrongdoing by a small, specialized division of the BRPD,
                authored in December, 2020, without specifying dates, by an officer who started
                work with the narcotics division in April, 2016, have no relevance to crowd control
                techniques or alleged 1st Amendment violations in July, 2016.




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           Plaintiffs have asserted municipal liability through Monell v. Dep’t of Social Servs. 436

U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). 3 The Fifth Circuit has explained municipal

respondeat superior liability as follows:

                           We will begin with the basic principles of municipal liability for the
                   misconduct of its employees in §1983 actions.
                           It is well-established that a city is not liable under §1983 on the theory of
                   respondeat superior. A municipality is almost never liable for an isolated
                   unconstitutional act on the part of an employee; it is liable only for acts directly
                   attributable to it “through some official action or imprimatur.” To establish
                   municipal liability under §1983, a plaintiff must show that (1) an official policy (2)
                   promulgated by the municipal policymaker (3) was the moving force behind the
                   violation of a constitutional right.
                           Official policy establishes culpability, and can arise in various forms. It
                   usually exists in the form of written policy statements, ordinances, or regulations,
                   but it may also arise in the form of a widespread practice that is “so common and
                   well-settled as to constitute a custom that fairly represents municipal policy
                           A policy or custom is official only “when it results from the decision or
                   acquiescence of the municipal officer or body with ‘final policymaking authority’
                   over the subject matter of the offending policy.” Thus, a plaintiff must show the
                   policy was promulgated by the municipality’s policymaker. There is no “de facto”
                   final policymaking authority. Here the parties agree that Chief Mendoza has final
                   policymaking authority over the Fort Worth Police Department.
                            Finally, a plaintiff must establish that the policy was the moving force
                   behind the violation. In other words, a plaintiff must show direct causation. This
                   means “there must be a direct causal link” between the policy and the violation.
                   (Peterson v. City of Fort Worth, Tex., 588 F.3d 838 (2009) at 847-848, internal
                   citations omitted)

           As set forth herein, there is no way to establish a direct causal link between allegations of

misconduct by a small, specialized division of the Baton Rouge Police Department in 2020 with

allegations of widespread wrongful arrests during protests and public disturbances in 2016. The

types of misconduct alleged by plaintiffs bear little, if any, resemblance to the misconduct alleged

four years later, and are attenuated by the intervening passage of time. The current and ongoing

investigations demonstrate that there is no acceptance of misconduct by the policy making

authority of the Baton Rouge Police Department. Furthermore, the requested disclosure would


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    ECF Doc. 189-1, at paragraphs 307-315.


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disrupt or impede BRPD’s efforts to correct the conduct of its own officers and enforce the laws

applicable to all citizens, while potentially exposing innocent individuals, who may be wrongfully

accused, to public defamation. Defendants herein acknowledge that some of the information

contained in the memorandum, if shown to be true, would be discoverable, after the investigations

are complete, and criminal litigation formally initiated, but not before such time.

                                                Conclusion

        The plaintiffs are not entitled to the document sought. It is attenuated by time and difference

of misconduct alleged, and does not relate to plaintiffs’ allegations of municipal liability based on

conduct in 2016. Furthermore, disclosure of information relating to current and ongoing Internal

Affairs and criminal investigations, and/or current criminal litigation, is protected by a law

enforcement privilege, as well as common sense. Defendants respectfully request a protective

order, so that the Baton Rouge Police Department can regulate its own officers in the manner

sought by all responsible municipalities, protect the innocent from false allegations, and aid in the

prosecution of those committing criminal acts against the public.

                                                           By Attorneys:
                                                           Anderson O. Dotson
                                                           Parish Attorney

                                                           /s/ Joseph K. Scott, III
                                                           Joseph K. Scott, III (Bar Roll #28223)
                                                           Deelee S. Morris (Bar Roll #28775)
                                                           A. Gregory Rome (Bar Roll #21062)
                                                           222 St. Louis Street, 9th Floor
                                                           Baton Rouge, LA 70802
                                                           Telephone: (225) 389-3114
                                                           Facsimile: (225) 389-8736
                                                           Email: jkscott@brla.gov
                                                           Email: dsmorris@brla.gov
                                                           Email: grome@brla.gov




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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

BLAIR IMANI, ET AL                                                    CIVIL ACTION

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CITY OF BATON ROUGE, ET AL



                                    CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Memorandum in Support of Motion for

Protective Order was this date electronically filed with the Clerk of Court using the Court’s

CM/ECF system. Notice of this filing will be sent to all counsel of record by operation of the

Court’s electronic filing system. Notice will be mailed to any party or counsel not participating

in the Court’s CM/ECF system by this date depositing same in the United States Mail, first class

postage prepaid, and properly addressed.

        Baton Rouge, Louisiana this 26th day of March, 2021.



                                                           /s/ Joseph K. Scott, III
                                                           JOSEPH K. SCOTT, III




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